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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Daniel Murphy
                                    Plaintiff,
v.                                                      Case No.: 1:15−cv−08673
                                                        Honorable Milton I. Shadur
Village of University Park
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 19, 2016:


       MINUTE entry before the Honorable Milton I. Shadur: Status and Motion
hearings held on 12/19/16. Plaintiff Daniel Murphy's Motion for Entry of Order on
Attorneys Fees Against Village of University Park [45] is granted. Status hearing
previously set for 2/23/17 at 9:00 a.m. to stand. Mailed notice(lp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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